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Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 35 of 73
             Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 36 of 73

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 2                                                                                 KING COUNTY
                                                                               SUPERIOR COURT CLERK
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 3                                                                          CASE NUMBER: 18-2-11697-0 KNT

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 6
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                           IN AND FOR THE COUNTY OF KING

 8
     ROBERT BELL, in his Personal Capacity and          NO. ______________
 9   as Administrator of the Estate of MATTHEW
     BELL, deceased; and LESLIE BELL, in her            SUMMONS TO LISA
10   Personal Capacity,                                 BRANDENBURG

11
     Plaintiffs,
12
     v.
13
     KING COUNTY PUBLIC HOSPITAL
14   DISTRICT #1, d/b/a VALLEY MEDICAL
     CENTER; ERIN ABOUDARA; BERNIE
15   DOCHNAHL; LISA BRANDENBURG;
     BARBARA DRENNEN; PETER EVANS; JIM
16   GRIGGS; GARY KOHLWES; MIKE
     MILLER; JULIA PATTERSON; VICKI
17   ORRICO; DONNA RUSSELL; TAMARA
     SLEETER; ELIZABETH SCHAUMBERG;
18   MARK THOMASSEAU; WHITNEY
     ALEXANDER; JEFFREY GOON; and JOHN
19   AND JANE DOES 1-10

20   Defendants.

21   TO:     LISA BRANDENBURG

22           YOU ARE HEREBY NOTIFIED that a lawsuit has been filed against you in the

23   above-entitled Court by the above-named Plaintiffs. Plaintiffs’ claims are stated in the written

24   Complaint, a copy of which is served upon you with this Summons.

25   SUMMONS - 1
                                                                           Galanda Broadman PLLC
                                                                           8606 35th Avenue NE, Ste. L1
                                                                           Mailing: P.O. Box 15146
                                                                           Seattle, WA 98115
                                                                           (206) 557-7509
            Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 37 of 73


 1          In order to defend against this lawsuit, you must respond to the Complaint by stating your

 2   defense in writing, and by serving a copy upon the person signing this summons within 20 days

 3   (if service is made on you within the State of Washington) or within 60 days (if service is made

 4   on you outside the State of Washington) after the date of the service on you of this Summons,

 5   excluding the day of service, or a default judgment may be entered against you without notice.

 6   A default judgment is one where Plaintiff is entitled to what has been asked for because you have

 7   not responded. If you serve a notice of appearance on the undersigned person, you are entitled to

 8   notice before a default judgment may be entered.

 9           If you wish to seek the advice of an attorney in this matter, you should do so promptly so

10   that your written response, if any, may be served on time.

11          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

12   State of Washington.

13          DATED this 7th of May 2018.

14                                                       GALANDA BROADMAN, PLLC

15                                                        s/Gabriel S. Galanda
                                                         Gabriel S. Galanda, WSBA # 30331
16                                                       Ryan D. Dreveskracht, WSBA #42593
                                                         Elisabeth J. Guard, WSBA # 52634
17                                                       Attorneys for Plaintiffs
                                                         P.O. Box 15146 Seattle, WA 98115
18                                                       (206) 557-7509 Fax: (206) 299-7690
                                                         Email: gabe@galandabroadman.com
19                                                       Email: ryan@galandabroadman.com
                                                         Email: elisabeth@galandabroadman.com
20

21

22

23

24

25   SUMMONS - 2
                                                                            Galanda Broadman PLLC
                                                                            8606 35th Avenue NE, Ste. L1
                                                                            Mailing: P.O. Box 15146
                                                                            Seattle, WA 98115
                                                                            (206) 557-7509
             Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 38 of 73

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 2                                                                                 KING COUNTY
                                                                               SUPERIOR COURT CLERK
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 3                                                                          CASE NUMBER: 18-2-11697-0 KNT

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 6
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                           IN AND FOR THE COUNTY OF KING

 8
     ROBERT BELL, in his Personal Capacity and          NO. ______________
 9   as Administrator of the Estate of MATTHEW
     BELL, deceased; and LESLIE BELL, in her            SUMMONS TO BARBARA
10   Personal Capacity,                                 DRENNEN

11
     Plaintiffs,
12
     v.
13
     KING COUNTY PUBLIC HOSPITAL
14   DISTRICT #1, d/b/a VALLEY MEDICAL
     CENTER; ERIN ABOUDARA; BERNIE
15   DOCHNAHL; LISA BRANDENBURG;
     BARBARA DRENNEN; PETER EVANS; JIM
16   GRIGGS; GARY KOHLWES; MIKE
     MILLER; JULIA PATTERSON; VICKI
17   ORRICO; DONNA RUSSELL; TAMARA
     SLEETER; ELIZABETH SCHAUMBERG;
18   MARK THOMASSEAU; WHITNEY
     ALEXANDER; JEFFREY GOON; and JOHN
19   AND JANE DOES 1-10

20   Defendants.

21        TO: BARBARA DRENNEN

22           YOU ARE HEREBY NOTIFIED that a lawsuit has been filed against you in the

23   above-entitled Court by the above-named Plaintiffs. Plaintiffs’ claims are stated in the written

24   Complaint, a copy of which is served upon you with this Summons.

25   SUMMONS - 1
                                                                           Galanda Broadman PLLC
                                                                           8606 35th Avenue NE, Ste. L1
                                                                           Mailing: P.O. Box 15146
                                                                           Seattle, WA 98115
                                                                           (206) 557-7509
            Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 39 of 73


 1          In order to defend against this lawsuit, you must respond to the Complaint by stating your

 2   defense in writing, and by serving a copy upon the person signing this summons within 20 days

 3   (if service is made on you within the State of Washington) or within 60 days (if service is made

 4   on you outside the State of Washington) after the date of the service on you of this Summons,

 5   excluding the day of service, or a default judgment may be entered against you without notice.

 6   A default judgment is one where Plaintiff is entitled to what has been asked for because you have

 7   not responded. If you serve a notice of appearance on the undersigned person, you are entitled to

 8   notice before a default judgment may be entered.

 9           If you wish to seek the advice of an attorney in this matter, you should do so promptly so

10   that your written response, if any, may be served on time.

11          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

12   State of Washington.

13          DATED this 7th of May 2018.

14                                                       GALANDA BROADMAN, PLLC

15                                                        s/Gabriel S. Galanda
                                                         Gabriel S. Galanda, WSBA # 30331
16                                                       Ryan D. Dreveskracht, WSBA #42593
                                                         Elisabeth J. Guard, WSBA # 52634
17                                                       Attorneys for Plaintiffs
                                                         P.O. Box 15146 Seattle, WA 98115
18                                                       (206) 557-7509 Fax: (206) 299-7690
                                                         Email: gabe@galandabroadman.com
19                                                       Email: ryan@galandabroadman.com
                                                         Email: elisabeth@galandabroadman.com
20

21

22

23

24

25   SUMMONS - 2
                                                                            Galanda Broadman PLLC
                                                                            8606 35th Avenue NE, Ste. L1
                                                                            Mailing: P.O. Box 15146
                                                                            Seattle, WA 98115
                                                                            (206) 557-7509
             Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 40 of 73

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 3                                                                          CASE NUMBER: 18-2-11697-0 KNT

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 6
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                           IN AND FOR THE COUNTY OF KING

 8
     ROBERT BELL, in his Personal Capacity and          NO. ______________
 9   as Administrator of the Estate of MATTHEW
     BELL, deceased; and LESLIE BELL, in her            SUMMONS TO PETER EVANS
10   Personal Capacity,

11
     Plaintiffs,
12
     v.
13
     KING COUNTY PUBLIC HOSPITAL
14   DISTRICT #1, d/b/a VALLEY MEDICAL
     CENTER; ERIN ABOUDARA; BERNIE
15   DOCHNAHL; LISA BRANDENBURG;
     BARBARA DRENNEN; PETER EVANS; JIM
16   GRIGGS; GARY KOHLWES; MIKE
     MILLER; JULIA PATTERSON; VICKI
17   ORRICO; DONNA RUSSELL; TAMARA
     SLEETER; ELIZABETH SCHAUMBERG;
18   MARK THOMASSEAU; WHITNEY
     ALEXANDER; JEFFREY GOON; and JOHN
19   AND JANE DOES 1-10

20   Defendants.

21        TO: PETER EVANS

22           YOU ARE HEREBY NOTIFIED that a lawsuit has been filed against you in the

23   above-entitled Court by the above-named Plaintiffs. Plaintiffs’ claims are stated in the written

24   Complaint, a copy of which is served upon you with this Summons.

25   SUMMONS - 1
                                                                           Galanda Broadman PLLC
                                                                           8606 35th Avenue NE, Ste. L1
                                                                           Mailing: P.O. Box 15146
                                                                           Seattle, WA 98115
                                                                           (206) 557-7509
            Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 41 of 73


 1          In order to defend against this lawsuit, you must respond to the Complaint by stating your

 2   defense in writing, and by serving a copy upon the person signing this summons within 20 days

 3   (if service is made on you within the State of Washington) or within 60 days (if service is made

 4   on you outside the State of Washington) after the date of the service on you of this Summons,

 5   excluding the day of service, or a default judgment may be entered against you without notice.

 6   A default judgment is one where Plaintiff is entitled to what has been asked for because you have

 7   not responded. If you serve a notice of appearance on the undersigned person, you are entitled to

 8   notice before a default judgment may be entered.

 9           If you wish to seek the advice of an attorney in this matter, you should do so promptly so

10   that your written response, if any, may be served on time.

11          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

12   State of Washington.

13          DATED this 7th of May 2018.

14                                                       GALANDA BROADMAN, PLLC

15                                                        s/Gabriel S. Galanda
                                                         Gabriel S. Galanda, WSBA # 30331
16                                                       Ryan D. Dreveskracht, WSBA #42593
                                                         Elisabeth J. Guard, WSBA # 52634
17                                                       Attorneys for Plaintiffs
                                                         P.O. Box 15146 Seattle, WA 98115
18                                                       (206) 557-7509 Fax: (206) 299-7690
                                                         Email: gabe@galandabroadman.com
19                                                       Email: ryan@galandabroadman.com
                                                         Email: elisabeth@galandabroadman.com
20

21

22

23

24

25   SUMMONS - 2
                                                                            Galanda Broadman PLLC
                                                                            8606 35th Avenue NE, Ste. L1
                                                                            Mailing: P.O. Box 15146
                                                                            Seattle, WA 98115
                                                                            (206) 557-7509
             Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 42 of 73

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 3                                                                          CASE NUMBER: 18-2-11697-0 KNT

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 6
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                           IN AND FOR THE COUNTY OF KING

 8
     ROBERT BELL, in his Personal Capacity and          NO. ______________
 9   as Administrator of the Estate of MATTHEW
     BELL, deceased; and LESLIE BELL, in her            SUMMONS TO JIM GRIGGS
10   Personal Capacity,

11
     Plaintiffs,
12
     v.
13
     KING COUNTY PUBLIC HOSPITAL
14   DISTRICT #1, d/b/a VALLEY MEDICAL
     CENTER; ERIN ABOUDARA; BERNIE
15   DOCHNAHL; LISA BRANDENBURG;
     BARBARA DRENNEN; PETER EVANS; JIM
16   GRIGGS; GARY KOHLWES; MIKE
     MILLER; JULIA PATTERSON; VICKI
17   ORRICO; DONNA RUSSELL; TAMARA
     SLEETER; ELIZABETH SCHAUMBERG;
18   MARK THOMASSEAU; WHITNEY
     ALEXANDER; JEFFREY GOON; and JOHN
19   AND JANE DOES 1-10

20   Defendants.

21        TO: JIM GRIGGS

22           YOU ARE HEREBY NOTIFIED that a lawsuit has been filed against you in the

23   above-entitled Court by the above-named Plaintiffs. Plaintiffs’ claims are stated in the written

24   Complaint, a copy of which is served upon you with this Summons.

25   SUMMONS - 1
                                                                           Galanda Broadman PLLC
                                                                           8606 35th Avenue NE, Ste. L1
                                                                           Mailing: P.O. Box 15146
                                                                           Seattle, WA 98115
                                                                           (206) 557-7509
            Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 43 of 73


 1          In order to defend against this lawsuit, you must respond to the Complaint by stating your

 2   defense in writing, and by serving a copy upon the person signing this summons within 20 days

 3   (if service is made on you within the State of Washington) or within 60 days (if service is made

 4   on you outside the State of Washington) after the date of the service on you of this Summons,

 5   excluding the day of service, or a default judgment may be entered against you without notice.

 6   A default judgment is one where Plaintiff is entitled to what has been asked for because you have

 7   not responded. If you serve a notice of appearance on the undersigned person, you are entitled to

 8   notice before a default judgment may be entered.

 9           If you wish to seek the advice of an attorney in this matter, you should do so promptly so

10   that your written response, if any, may be served on time.

11          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

12   State of Washington.

13          DATED this 7th of May 2018.

14                                                       GALANDA BROADMAN, PLLC

15                                                        s/Gabriel S. Galanda
                                                         Gabriel S. Galanda, WSBA # 30331
16                                                       Ryan D. Dreveskracht, WSBA #42593
                                                         Elisabeth J. Guard, WSBA # 52634
17                                                       Attorneys for Plaintiffs
                                                         P.O. Box 15146 Seattle, WA 98115
18                                                       (206) 557-7509 Fax: (206) 299-7690
                                                         Email: gabe@galandabroadman.com
19                                                       Email: ryan@galandabroadman.com
                                                         Email: elisabeth@galandabroadman.com
20

21

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23

24

25   SUMMONS - 2
                                                                            Galanda Broadman PLLC
                                                                            8606 35th Avenue NE, Ste. L1
                                                                            Mailing: P.O. Box 15146
                                                                            Seattle, WA 98115
                                                                            (206) 557-7509
             Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 44 of 73

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 3                                                                          CASE NUMBER: 18-2-11697-0 KNT

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 6
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                           IN AND FOR THE COUNTY OF KING

 8
     ROBERT BELL, in his Personal Capacity and          NO. ______________
 9   as Administrator of the Estate of MATTHEW
     BELL, deceased; and LESLIE BELL, in her            SUMMONS TO GARY KOHLWES
10   Personal Capacity,

11
     Plaintiffs,
12
     v.
13
     KING COUNTY PUBLIC HOSPITAL
14   DISTRICT #1, d/b/a VALLEY MEDICAL
     CENTER; ERIN ABOUDARA; BERNIE
15   DOCHNAHL; LISA BRANDENBURG;
     BARBARA DRENNEN; PETER EVANS; JIM
16   GRIGGS; GARY KOHLWES; MIKE
     MILLER; JULIA PATTERSON; VICKI
17   ORRICO; DONNA RUSSELL; TAMARA
     SLEETER; ELIZABETH SCHAUMBERG;
18   MARK THOMASSEAU; WHITNEY
     ALEXANDER; JEFFREY GOON; and JOHN
19   AND JANE DOES 1-10

20   Defendants.

21        TO: GARY KOHLWES

22           YOU ARE HEREBY NOTIFIED that a lawsuit has been filed against you in the

23   above-entitled Court by the above-named Plaintiffs. Plaintiffs’ claims are stated in the written

24   Complaint, a copy of which is served upon you with this Summons.

25   SUMMONS - 1
                                                                           Galanda Broadman PLLC
                                                                           8606 35th Avenue NE, Ste. L1
                                                                           Mailing: P.O. Box 15146
                                                                           Seattle, WA 98115
                                                                           (206) 557-7509
            Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 45 of 73


 1          In order to defend against this lawsuit, you must respond to the Complaint by stating your

 2   defense in writing, and by serving a copy upon the person signing this summons within 20 days

 3   (if service is made on you within the State of Washington) or within 60 days (if service is made

 4   on you outside the State of Washington) after the date of the service on you of this Summons,

 5   excluding the day of service, or a default judgment may be entered against you without notice.

 6   A default judgment is one where Plaintiff is entitled to what has been asked for because you have

 7   not responded. If you serve a notice of appearance on the undersigned person, you are entitled to

 8   notice before a default judgment may be entered.

 9           If you wish to seek the advice of an attorney in this matter, you should do so promptly so

10   that your written response, if any, may be served on time.

11          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

12   State of Washington.

13          DATED this 7th of May 2018.

14                                                       GALANDA BROADMAN, PLLC

15                                                        s/Gabriel S. Galanda
                                                         Gabriel S. Galanda, WSBA # 30331
16                                                       Ryan D. Dreveskracht, WSBA #42593
                                                         Elisabeth J. Guard, WSBA # 52634
17                                                       Attorneys for Plaintiffs
                                                         P.O. Box 15146 Seattle, WA 98115
18                                                       (206) 557-7509 Fax: (206) 299-7690
                                                         Email: gabe@galandabroadman.com
19                                                       Email: ryan@galandabroadman.com
                                                         Email: elisabeth@galandabroadman.com
20

21

22

23

24

25   SUMMONS - 2
                                                                            Galanda Broadman PLLC
                                                                            8606 35th Avenue NE, Ste. L1
                                                                            Mailing: P.O. Box 15146
                                                                            Seattle, WA 98115
                                                                            (206) 557-7509
             Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 46 of 73

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 3                                                                          CASE NUMBER: 18-2-11697-0 KNT

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 6
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                           IN AND FOR THE COUNTY OF KING

 8
     ROBERT BELL, in his Personal Capacity and          NO. ______________
 9   as Administrator of the Estate of MATTHEW
     BELL, deceased; and LESLIE BELL, in her            SUMMONS TO MIKE MILLER
10   Personal Capacity,

11
     Plaintiffs,
12
     v.
13
     KING COUNTY PUBLIC HOSPITAL
14   DISTRICT #1, d/b/a VALLEY MEDICAL
     CENTER; ERIN ABOUDARA; BERNIE
15   DOCHNAHL; LISA BRANDENBURG;
     BARBARA DRENNEN; PETER EVANS; JIM
16   GRIGGS; GARY KOHLWES; MIKE
     MILLER; JULIA PATTERSON; VICKI
17   ORRICO; DONNA RUSSELL; TAMARA
     SLEETER; ELIZABETH SCHAUMBERG;
18   MARK THOMASSEAU; WHITNEY
     ALEXANDER; JEFFREY GOON; and JOHN
19   AND JANE DOES 1-10

20   Defendants.

21        TO: MIKE MILLER

22           YOU ARE HEREBY NOTIFIED that a lawsuit has been filed against you in the

23   above-entitled Court by the above-named Plaintiffs. Plaintiffs’ claims are stated in the written

24   Complaint, a copy of which is served upon you with this Summons.

25   SUMMONS - 1
                                                                           Galanda Broadman PLLC
                                                                           8606 35th Avenue NE, Ste. L1
                                                                           Mailing: P.O. Box 15146
                                                                           Seattle, WA 98115
                                                                           (206) 557-7509
            Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 47 of 73


 1          In order to defend against this lawsuit, you must respond to the Complaint by stating your

 2   defense in writing, and by serving a copy upon the person signing this summons within 20 days

 3   (if service is made on you within the State of Washington) or within 60 days (if service is made

 4   on you outside the State of Washington) after the date of the service on you of this Summons,

 5   excluding the day of service, or a default judgment may be entered against you without notice.

 6   A default judgment is one where Plaintiff is entitled to what has been asked for because you have

 7   not responded. If you serve a notice of appearance on the undersigned person, you are entitled to

 8   notice before a default judgment may be entered.

 9           If you wish to seek the advice of an attorney in this matter, you should do so promptly so

10   that your written response, if any, may be served on time.

11          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

12   State of Washington.

13          DATED this 7th of May 2018.

14                                                       GALANDA BROADMAN, PLLC

15                                                        s/Gabriel S. Galanda
                                                         Gabriel S. Galanda, WSBA # 30331
16                                                       Ryan D. Dreveskracht, WSBA #42593
                                                         Elisabeth J. Guard, WSBA # 52634
17                                                       Attorneys for Plaintiffs
                                                         P.O. Box 15146 Seattle, WA 98115
18                                                       (206) 557-7509 Fax: (206) 299-7690
                                                         Email: gabe@galandabroadman.com
19                                                       Email: ryan@galandabroadman.com
                                                         Email: elisabeth@galandabroadman.com
20

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23

24

25   SUMMONS - 2
                                                                            Galanda Broadman PLLC
                                                                            8606 35th Avenue NE, Ste. L1
                                                                            Mailing: P.O. Box 15146
                                                                            Seattle, WA 98115
                                                                            (206) 557-7509
             Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 48 of 73

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 1                                                                                  18 MAY 08 AM 9:00


 2                                                                                 KING COUNTY
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 3                                                                          CASE NUMBER: 18-2-11697-0 KNT

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 5

 6
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                           IN AND FOR THE COUNTY OF KING

 8
     ROBERT BELL, in his Personal Capacity and          NO. ______________
 9   as Administrator of the Estate of MATTHEW
     BELL, deceased; and LESLIE BELL, in her            SUMMONS TO JULIA PATTERSON
10   Personal Capacity,

11
     Plaintiffs,
12
     v.
13
     KING COUNTY PUBLIC HOSPITAL
14   DISTRICT #1, d/b/a VALLEY MEDICAL
     CENTER; ERIN ABOUDARA; BERNIE
15   DOCHNAHL; LISA BRANDENBURG;
     BARBARA DRENNEN; PETER EVANS; JIM
16   GRIGGS; GARY KOHLWES; MIKE
     MILLER; JULIA PATTERSON; VICKI
17   ORRICO; DONNA RUSSELL; TAMARA
     SLEETER; ELIZABETH SCHAUMBERG;
18   MARK THOMASSEAU; WHITNEY
     ALEXANDER; JEFFREY GOON; and JOHN
19   AND JANE DOES 1-10

20   Defendants.

21        TO: JULIA PATTERSON

22           YOU ARE HEREBY NOTIFIED that a lawsuit has been filed against you in the

23   above-entitled Court by the above-named Plaintiffs. Plaintiffs’ claims are stated in the written

24   Complaint, a copy of which is served upon you with this Summons.

25   SUMMONS - 1
                                                                           Galanda Broadman PLLC
                                                                           8606 35th Avenue NE, Ste. L1
                                                                           Mailing: P.O. Box 15146
                                                                           Seattle, WA 98115
                                                                           (206) 557-7509
            Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 49 of 73


 1          In order to defend against this lawsuit, you must respond to the Complaint by stating your

 2   defense in writing, and by serving a copy upon the person signing this summons within 20 days

 3   (if service is made on you within the State of Washington) or within 60 days (if service is made

 4   on you outside the State of Washington) after the date of the service on you of this Summons,

 5   excluding the day of service, or a default judgment may be entered against you without notice.

 6   A default judgment is one where Plaintiff is entitled to what has been asked for because you have

 7   not responded. If you serve a notice of appearance on the undersigned person, you are entitled to

 8   notice before a default judgment may be entered.

 9           If you wish to seek the advice of an attorney in this matter, you should do so promptly so

10   that your written response, if any, may be served on time.

11          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

12   State of Washington.

13          DATED this 7th of May 2018.

14                                                       GALANDA BROADMAN, PLLC

15                                                        s/Gabriel S. Galanda
                                                         Gabriel S. Galanda, WSBA # 30331
16                                                       Ryan D. Dreveskracht, WSBA #42593
                                                         Elisabeth J. Guard, WSBA # 52634
17                                                       Attorneys for Plaintiffs
                                                         P.O. Box 15146 Seattle, WA 98115
18                                                       (206) 557-7509 Fax: (206) 299-7690
                                                         Email: gabe@galandabroadman.com
19                                                       Email: ryan@galandabroadman.com
                                                         Email: elisabeth@galandabroadman.com
20

21

22

23

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25   SUMMONS - 2
                                                                            Galanda Broadman PLLC
                                                                            8606 35th Avenue NE, Ste. L1
                                                                            Mailing: P.O. Box 15146
                                                                            Seattle, WA 98115
                                                                            (206) 557-7509
             Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 50 of 73

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 1                                                                                  18 MAY 08 AM 9:00


 2                                                                                 KING COUNTY
                                                                               SUPERIOR COURT CLERK
                                                                                      E-FILED
 3                                                                          CASE NUMBER: 18-2-11697-0 KNT

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 5

 6
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                           IN AND FOR THE COUNTY OF KING

 8
     ROBERT BELL, in his Personal Capacity and          NO. ______________
 9   as Administrator of the Estate of MATTHEW
     BELL, deceased; and LESLIE BELL, in her            SUMMONS TO VICKI ORRICO
10   Personal Capacity,

11
     Plaintiffs,
12
     v.
13
     KING COUNTY PUBLIC HOSPITAL
14   DISTRICT #1, d/b/a VALLEY MEDICAL
     CENTER; ERIN ABOUDARA; BERNIE
15   DOCHNAHL; LISA BRANDENBURG;
     BARBARA DRENNEN; PETER EVANS; JIM
16   GRIGGS; GARY KOHLWES; MIKE
     MILLER; JULIA PATTERSON; VICKI
17   ORRICO; DONNA RUSSELL; TAMARA
     SLEETER; ELIZABETH SCHAUMBERG;
18   MARK THOMASSEAU; WHITNEY
     ALEXANDER; JEFFREY GOON; and JOHN
19   AND JANE DOES 1-10

20   Defendants.

21        TO: VICKI ORRICO

22           YOU ARE HEREBY NOTIFIED that a lawsuit has been filed against you in the

23   above-entitled Court by the above-named Plaintiffs. Plaintiffs’ claims are stated in the written

24   Complaint, a copy of which is served upon you with this Summons.

25   SUMMONS - 1
                                                                           Galanda Broadman PLLC
                                                                           8606 35th Avenue NE, Ste. L1
                                                                           Mailing: P.O. Box 15146
                                                                           Seattle, WA 98115
                                                                           (206) 557-7509
            Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 51 of 73


 1          In order to defend against this lawsuit, you must respond to the Complaint by stating your

 2   defense in writing, and by serving a copy upon the person signing this summons within 20 days

 3   (if service is made on you within the State of Washington) or within 60 days (if service is made

 4   on you outside the State of Washington) after the date of the service on you of this Summons,

 5   excluding the day of service, or a default judgment may be entered against you without notice.

 6   A default judgment is one where Plaintiff is entitled to what has been asked for because you have

 7   not responded. If you serve a notice of appearance on the undersigned person, you are entitled to

 8   notice before a default judgment may be entered.

 9           If you wish to seek the advice of an attorney in this matter, you should do so promptly so

10   that your written response, if any, may be served on time.

11          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

12   State of Washington.

13          DATED this 7th of May 2018.

14                                                       GALANDA BROADMAN, PLLC

15                                                        s/Gabriel S. Galanda
                                                         Gabriel S. Galanda, WSBA # 30331
16                                                       Ryan D. Dreveskracht, WSBA #42593
                                                         Elisabeth J. Guard, WSBA # 52634
17                                                       Attorneys for Plaintiffs
                                                         P.O. Box 15146 Seattle, WA 98115
18                                                       (206) 557-7509 Fax: (206) 299-7690
                                                         Email: gabe@galandabroadman.com
19                                                       Email: ryan@galandabroadman.com
                                                         Email: elisabeth@galandabroadman.com
20

21

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23

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25   SUMMONS - 2
                                                                            Galanda Broadman PLLC
                                                                            8606 35th Avenue NE, Ste. L1
                                                                            Mailing: P.O. Box 15146
                                                                            Seattle, WA 98115
                                                                            (206) 557-7509
             Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 52 of 73

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 2                                                                                 KING COUNTY
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 3                                                                          CASE NUMBER: 18-2-11697-0 KNT

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 6
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                           IN AND FOR THE COUNTY OF KING

 8
     ROBERT BELL, in his Personal Capacity and          NO. ______________
 9   as Administrator of the Estate of MATTHEW
     BELL, deceased; and LESLIE BELL, in her            SUMMONS TO DONNA RUSSELL
10   Personal Capacity,

11
     Plaintiffs,
12
     v.
13
     KING COUNTY PUBLIC HOSPITAL
14   DISTRICT #1, d/b/a VALLEY MEDICAL
     CENTER; ERIN ABOUDARA; BERNIE
15   DOCHNAHL; LISA BRANDENBURG;
     BARBARA DRENNEN; PETER EVANS; JIM
16   GRIGGS; GARY KOHLWES; MIKE
     MILLER; JULIA PATTERSON; VICKI
17   ORRICO; DONNA RUSSELL; TAMARA
     SLEETER; ELIZABETH SCHAUMBERG;
18   MARK THOMASSEAU; WHITNEY
     ALEXANDER; JEFFREY GOON; and JOHN
19   AND JANE DOES 1-10

20   Defendants.

21        TO: DONNA RUSSELL

22           YOU ARE HEREBY NOTIFIED that a lawsuit has been filed against you in the

23   above-entitled Court by the above-named Plaintiffs. Plaintiffs’ claims are stated in the written

24   Complaint, a copy of which is served upon you with this Summons.

25   SUMMONS - 1
                                                                           Galanda Broadman PLLC
                                                                           8606 35th Avenue NE, Ste. L1
                                                                           Mailing: P.O. Box 15146
                                                                           Seattle, WA 98115
                                                                           (206) 557-7509
            Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 53 of 73


 1          In order to defend against this lawsuit, you must respond to the Complaint by stating your

 2   defense in writing, and by serving a copy upon the person signing this summons within 20 days

 3   (if service is made on you within the State of Washington) or within 60 days (if service is made

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 5   excluding the day of service, or a default judgment may be entered against you without notice.

 6   A default judgment is one where Plaintiff is entitled to what has been asked for because you have

 7   not responded. If you serve a notice of appearance on the undersigned person, you are entitled to

 8   notice before a default judgment may be entered.

 9           If you wish to seek the advice of an attorney in this matter, you should do so promptly so

10   that your written response, if any, may be served on time.

11          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

12   State of Washington.

13          DATED this 7th of May 2018.

14                                                       GALANDA BROADMAN, PLLC

15                                                        s/Gabriel S. Galanda
                                                         Gabriel S. Galanda, WSBA # 30331
16                                                       Ryan D. Dreveskracht, WSBA #42593
                                                         Elisabeth J. Guard, WSBA # 52634
17                                                       Attorneys for Plaintiffs
                                                         P.O. Box 15146 Seattle, WA 98115
18                                                       (206) 557-7509 Fax: (206) 299-7690
                                                         Email: gabe@galandabroadman.com
19                                                       Email: ryan@galandabroadman.com
                                                         Email: elisabeth@galandabroadman.com
20

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25   SUMMONS - 2
                                                                            Galanda Broadman PLLC
                                                                            8606 35th Avenue NE, Ste. L1
                                                                            Mailing: P.O. Box 15146
                                                                            Seattle, WA 98115
                                                                            (206) 557-7509
             Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 54 of 73

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 2                                                                                 KING COUNTY
                                                                               SUPERIOR COURT CLERK
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 3                                                                          CASE NUMBER: 18-2-11697-0 KNT

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 6
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                           IN AND FOR THE COUNTY OF KING

 8
     ROBERT BELL, in his Personal Capacity and          NO. ______________
 9   as Administrator of the Estate of MATTHEW
     BELL, deceased; and LESLIE BELL, in her            SUMMONS TO TAMARA SLEETER
10   Personal Capacity,

11
     Plaintiffs,
12
     v.
13
     KING COUNTY PUBLIC HOSPITAL
14   DISTRICT #1, d/b/a VALLEY MEDICAL
     CENTER; ERIN ABOUDARA; BERNIE
15   DOCHNAHL; LISA BRANDENBURG;
     BARBARA DRENNEN; PETER EVANS; JIM
16   GRIGGS; GARY KOHLWES; MIKE
     MILLER; JULIA PATTERSON; VICKI
17   ORRICO; DONNA RUSSELL; TAMARA
     SLEETER; ELIZABETH SCHAUMBERG;
18   MARK THOMASSEAU; WHITNEY
     ALEXANDER; JEFFREY GOON; and JOHN
19   AND JANE DOES 1-10

20   Defendants.

21        TO: TAMARA SLEETER

22           YOU ARE HEREBY NOTIFIED that a lawsuit has been filed against you in the

23   above-entitled Court by the above-named Plaintiffs. Plaintiffs’ claims are stated in the written

24   Complaint, a copy of which is served upon you with this Summons.

25   SUMMONS - 1
                                                                           Galanda Broadman PLLC
                                                                           8606 35th Avenue NE, Ste. L1
                                                                           Mailing: P.O. Box 15146
                                                                           Seattle, WA 98115
                                                                           (206) 557-7509
            Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 55 of 73


 1          In order to defend against this lawsuit, you must respond to the Complaint by stating your

 2   defense in writing, and by serving a copy upon the person signing this summons within 20 days

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 5   excluding the day of service, or a default judgment may be entered against you without notice.

 6   A default judgment is one where Plaintiff is entitled to what has been asked for because you have

 7   not responded. If you serve a notice of appearance on the undersigned person, you are entitled to

 8   notice before a default judgment may be entered.

 9           If you wish to seek the advice of an attorney in this matter, you should do so promptly so

10   that your written response, if any, may be served on time.

11          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

12   State of Washington.

13          DATED this 7th of May 2018.

14                                                       GALANDA BROADMAN, PLLC

15                                                        s/Gabriel S. Galanda
                                                         Gabriel S. Galanda, WSBA # 30331
16                                                       Ryan D. Dreveskracht, WSBA #42593
                                                         Elisabeth J. Guard, WSBA # 52634
17                                                       Attorneys for Plaintiffs
                                                         P.O. Box 15146 Seattle, WA 98115
18                                                       (206) 557-7509 Fax: (206) 299-7690
                                                         Email: gabe@galandabroadman.com
19                                                       Email: ryan@galandabroadman.com
                                                         Email: elisabeth@galandabroadman.com
20

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25   SUMMONS - 2
                                                                            Galanda Broadman PLLC
                                                                            8606 35th Avenue NE, Ste. L1
                                                                            Mailing: P.O. Box 15146
                                                                            Seattle, WA 98115
                                                                            (206) 557-7509
             Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 56 of 73

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 1                                                                                  18 MAY 08 AM 9:00


 2                                                                                 KING COUNTY
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 3                                                                          CASE NUMBER: 18-2-11697-0 KNT

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 6
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                           IN AND FOR THE COUNTY OF KING

 8
     ROBERT BELL, in his Personal Capacity and          NO. ______________
 9   as Administrator of the Estate of MATTHEW
     BELL, deceased; and LESLIE BELL, in her            SUMMONS TO ELIZABETH
10   Personal Capacity,                                 SCHAUMBERG

11
     Plaintiffs,
12
     v.
13
     KING COUNTY PUBLIC HOSPITAL
14   DISTRICT #1, d/b/a VALLEY MEDICAL
     CENTER; ERIN ABOUDARA; BERNIE
15   DOCHNAHL; LISA BRANDENBURG;
     BARBARA DRENNEN; PETER EVANS; JIM
16   GRIGGS; GARY KOHLWES; MIKE
     MILLER; JULIA PATTERSON; VICKI
17   ORRICO; DONNA RUSSELL; TAMARA
     SLEETER; ELIZABETH SCHAUMBERG;
18   MARK THOMASSEAU; WHITNEY
     ALEXANDER; JEFFREY GOON; and JOHN
19   AND JANE DOES 1-10

20   Defendants.

21        TO: ELIZABETH SCHAUMBERG

22           YOU ARE HEREBY NOTIFIED that a lawsuit has been filed against you in the

23   above-entitled Court by the above-named Plaintiffs. Plaintiffs’ claims are stated in the written

24   Complaint, a copy of which is served upon you with this Summons.

25   SUMMONS - 1
                                                                           Galanda Broadman PLLC
                                                                           8606 35th Avenue NE, Ste. L1
                                                                           Mailing: P.O. Box 15146
                                                                           Seattle, WA 98115
                                                                           (206) 557-7509
            Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 57 of 73


 1          In order to defend against this lawsuit, you must respond to the Complaint by stating your

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 6   A default judgment is one where Plaintiff is entitled to what has been asked for because you have

 7   not responded. If you serve a notice of appearance on the undersigned person, you are entitled to

 8   notice before a default judgment may be entered.

 9           If you wish to seek the advice of an attorney in this matter, you should do so promptly so

10   that your written response, if any, may be served on time.

11          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

12   State of Washington.

13          DATED this 7th of May 2018.

14                                                       GALANDA BROADMAN, PLLC

15                                                        s/Gabriel S. Galanda
                                                         Gabriel S. Galanda, WSBA # 30331
16                                                       Ryan D. Dreveskracht, WSBA #42593
                                                         Elisabeth J. Guard, WSBA # 52634
17                                                       Attorneys for Plaintiffs
                                                         P.O. Box 15146 Seattle, WA 98115
18                                                       (206) 557-7509 Fax: (206) 299-7690
                                                         Email: gabe@galandabroadman.com
19                                                       Email: ryan@galandabroadman.com
                                                         Email: elisabeth@galandabroadman.com
20

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25   SUMMONS - 2
                                                                            Galanda Broadman PLLC
                                                                            8606 35th Avenue NE, Ste. L1
                                                                            Mailing: P.O. Box 15146
                                                                            Seattle, WA 98115
                                                                            (206) 557-7509
             Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 58 of 73

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 1                                                                                  18 MAY 08 AM 9:00


 2                                                                                 KING COUNTY
                                                                               SUPERIOR COURT CLERK
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 3                                                                          CASE NUMBER: 18-2-11697-0 KNT

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 5

 6
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                           IN AND FOR THE COUNTY OF KING

 8
     ROBERT BELL, in his Personal Capacity and          NO. ______________
 9   as Administrator of the Estate of MATTHEW
     BELL, deceased; and LESLIE BELL, in her            SUMMONS TO MARK
10   Personal Capacity,                                 THOMASSEAU

11
     Plaintiffs,
12
     v.
13
     KING COUNTY PUBLIC HOSPITAL
14   DISTRICT #1, d/b/a VALLEY MEDICAL
     CENTER; ERIN ABOUDARA; BERNIE
15   DOCHNAHL; LISA BRANDENBURG;
     BARBARA DRENNEN; PETER EVANS; JIM
16   GRIGGS; GARY KOHLWES; MIKE
     MILLER; JULIA PATTERSON; VICKI
17   ORRICO; DONNA RUSSELL; TAMARA
     SLEETER; ELIZABETH SCHAUMBERG;
18   MARK THOMASSEAU; WHITNEY
     ALEXANDER; JEFFREY GOON; and JOHN
19   AND JANE DOES 1-10

20   Defendants.

21        TO: MARK THOMASSEAU

22           YOU ARE HEREBY NOTIFIED that a lawsuit has been filed against you in the

23   above-entitled Court by the above-named Plaintiffs. Plaintiffs’ claims are stated in the written

24   Complaint, a copy of which is served upon you with this Summons.

25   SUMMONS - 1
                                                                           Galanda Broadman PLLC
                                                                           8606 35th Avenue NE, Ste. L1
                                                                           Mailing: P.O. Box 15146
                                                                           Seattle, WA 98115
                                                                           (206) 557-7509
            Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 59 of 73


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 7   not responded. If you serve a notice of appearance on the undersigned person, you are entitled to

 8   notice before a default judgment may be entered.

 9           If you wish to seek the advice of an attorney in this matter, you should do so promptly so

10   that your written response, if any, may be served on time.

11          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

12   State of Washington.

13          DATED this 7th of May 2018.

14                                                       GALANDA BROADMAN, PLLC

15                                                        s/Gabriel S. Galanda
                                                         Gabriel S. Galanda, WSBA # 30331
16                                                       Ryan D. Dreveskracht, WSBA #42593
                                                         Elisabeth J. Guard, WSBA # 52634
17                                                       Attorneys for Plaintiffs
                                                         P.O. Box 15146 Seattle, WA 98115
18                                                       (206) 557-7509 Fax: (206) 299-7690
                                                         Email: gabe@galandabroadman.com
19                                                       Email: ryan@galandabroadman.com
                                                         Email: elisabeth@galandabroadman.com
20

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25   SUMMONS - 2
                                                                            Galanda Broadman PLLC
                                                                            8606 35th Avenue NE, Ste. L1
                                                                            Mailing: P.O. Box 15146
                                                                            Seattle, WA 98115
                                                                            (206) 557-7509
             Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 60 of 73

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 1                                                                                  18 MAY 08 AM 9:00


 2                                                                                 KING COUNTY
                                                                               SUPERIOR COURT CLERK
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 3                                                                          CASE NUMBER: 18-2-11697-0 KNT

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 5

 6
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                           IN AND FOR THE COUNTY OF KING

 8
     ROBERT BELL, in his Personal Capacity and          NO. ______________
 9   as Administrator of the Estate of MATTHEW
     BELL, deceased; and LESLIE BELL, in her            SUMMONS TO WHITNEY
10   Personal Capacity,                                 ALEXANDER

11
     Plaintiffs,
12
     v.
13
     KING COUNTY PUBLIC HOSPITAL
14   DISTRICT #1, d/b/a VALLEY MEDICAL
     CENTER; ERIN ABOUDARA; BERNIE
15   DOCHNAHL; LISA BRANDENBURG;
     BARBARA DRENNEN; PETER EVANS; JIM
16   GRIGGS; GARY KOHLWES; MIKE
     MILLER; JULIA PATTERSON; VICKI
17   ORRICO; DONNA RUSSELL; TAMARA
     SLEETER; ELIZABETH SCHAUMBERG;
18   MARK THOMASSEAU; WHITNEY
     ALEXANDER; JEFFREY GOON; and JOHN
19   AND JANE DOES 1-10

20   Defendants.

21        TO: WHITNEY ALEXANDER

22           YOU ARE HEREBY NOTIFIED that a lawsuit has been filed against you in the

23   above-entitled Court by the above-named Plaintiffs. Plaintiffs’ claims are stated in the written

24   Complaint, a copy of which is served upon you with this Summons.

25   SUMMONS - 1
                                                                           Galanda Broadman PLLC
                                                                           8606 35th Avenue NE, Ste. L1
                                                                           Mailing: P.O. Box 15146
                                                                           Seattle, WA 98115
                                                                           (206) 557-7509
            Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 61 of 73


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11          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

12   State of Washington.

13          DATED this 7th of May 2018.

14                                                       GALANDA BROADMAN, PLLC

15                                                        s/Gabriel S. Galanda
                                                         Gabriel S. Galanda, WSBA # 30331
16                                                       Ryan D. Dreveskracht, WSBA #42593
                                                         Elisabeth J. Guard, WSBA # 52634
17                                                       Attorneys for Plaintiffs
                                                         P.O. Box 15146 Seattle, WA 98115
18                                                       (206) 557-7509 Fax: (206) 299-7690
                                                         Email: gabe@galandabroadman.com
19                                                       Email: ryan@galandabroadman.com
                                                         Email: elisabeth@galandabroadman.com
20

21

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23

24

25   SUMMONS - 2
                                                                            Galanda Broadman PLLC
                                                                            8606 35th Avenue NE, Ste. L1
                                                                            Mailing: P.O. Box 15146
                                                                            Seattle, WA 98115
                                                                            (206) 557-7509
             Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 62 of 73

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 1                                                                                  18 MAY 08 AM 9:00


 2                                                                                 KING COUNTY
                                                                               SUPERIOR COURT CLERK
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 3                                                                          CASE NUMBER: 18-2-11697-0 KNT

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 6
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 7                           IN AND FOR THE COUNTY OF KING

 8
     ROBERT BELL, in his Personal Capacity and          NO. ______________
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     BELL, deceased; and LESLIE BELL, in her            SUMMONS TO JEFFREY GOON
10   Personal Capacity,

11
     Plaintiffs,
12
     v.
13
     KING COUNTY PUBLIC HOSPITAL
14   DISTRICT #1, d/b/a VALLEY MEDICAL
     CENTER; ERIN ABOUDARA; BERNIE
15   DOCHNAHL; LISA BRANDENBURG;
     BARBARA DRENNEN; PETER EVANS; JIM
16   GRIGGS; GARY KOHLWES; MIKE
     MILLER; JULIA PATTERSON; VICKI
17   ORRICO; DONNA RUSSELL; TAMARA
     SLEETER; ELIZABETH SCHAUMBERG;
18   MARK THOMASSEAU; WHITNEY
     ALEXANDER; JEFFREY GOON; and JOHN
19   AND JANE DOES 1-10

20   Defendants.

21        TO: JEFFREY GOON

22           YOU ARE HEREBY NOTIFIED that a lawsuit has been filed against you in the

23   above-entitled Court by the above-named Plaintiffs. Plaintiffs’ claims are stated in the written

24   Complaint, a copy of which is served upon you with this Summons.

25   SUMMONS - 1
                                                                           Galanda Broadman PLLC
                                                                           8606 35th Avenue NE, Ste. L1
                                                                           Mailing: P.O. Box 15146
                                                                           Seattle, WA 98115
                                                                           (206) 557-7509
            Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 63 of 73


 1          In order to defend against this lawsuit, you must respond to the Complaint by stating your

 2   defense in writing, and by serving a copy upon the person signing this summons within 20 days

 3   (if service is made on you within the State of Washington) or within 60 days (if service is made

 4   on you outside the State of Washington) after the date of the service on you of this Summons,

 5   excluding the day of service, or a default judgment may be entered against you without notice.

 6   A default judgment is one where Plaintiff is entitled to what has been asked for because you have

 7   not responded. If you serve a notice of appearance on the undersigned person, you are entitled to

 8   notice before a default judgment may be entered.

 9           If you wish to seek the advice of an attorney in this matter, you should do so promptly so

10   that your written response, if any, may be served on time.

11          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

12   State of Washington.

13          DATED this 7th of May 2018.

14                                                       GALANDA BROADMAN, PLLC

15                                                        s/Gabriel S. Galanda
                                                         Gabriel S. Galanda, WSBA # 30331
16                                                       Ryan D. Dreveskracht, WSBA #42593
                                                         Elisabeth J. Guard, WSBA # 52634
17                                                       Attorneys for Plaintiffs
                                                         P.O. Box 15146 Seattle, WA 98115
18                                                       (206) 557-7509 Fax: (206) 299-7690
                                                         Email: gabe@galandabroadman.com
19                                                       Email: ryan@galandabroadman.com
                                                         Email: elisabeth@galandabroadman.com
20

21

22

23

24

25   SUMMONS - 2
                                                                            Galanda Broadman PLLC
                                                                            8606 35th Avenue NE, Ste. L1
                                                                            Mailing: P.O. Box 15146
                                                                            Seattle, WA 98115
                                                                            (206) 557-7509
             Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 64 of 73

                                                                                         FILED
 1                                                                                  18 MAY 08 AM 9:00


 2                                                                                 KING COUNTY
                                                                               SUPERIOR COURT CLERK
                                                                                      E-FILED
 3                                                                          CASE NUMBER: 18-2-11697-0 KNT

 4

 5

 6
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                           IN AND FOR THE COUNTY OF KING

 8
     ROBERT BELL, in his Personal Capacity and          NO. ______________
 9   as Administrator of the Estate of MATTHEW
     BELL, deceased; and LESLIE BELL, in her            SUMMONS TO KING COUNTY
10   Personal Capacity,                                 PUBLIC HOSPITAL DISTRICT #1
                                                        D/B/A VALLEY MEDICAL CENTER
11
     Plaintiffs,
12
     v.
13
     KING COUNTY PUBLIC HOSPITAL
14   DISTRICT #1, d/b/a VALLEY MEDICAL
     CENTER; ERIN ABOUDARA; BERNIE
15   DOCHNAHL; LISA BRANDENBURG;
     BARBARA DRENNEN; PETER EVANS; JIM
16   GRIGGS; GARY KOHLWES; MIKE
     MILLER; JULIA PATTERSON; VICKI
17   ORRICO; DONNA RUSSELL; TAMARA
     SLEETER; ELIZABETH SCHAUMBERG;
18   MARK THOMASSEAU; WHITNEY
     ALEXANDER; JEFFREY GOON; and JOHN
19   AND JANE DOES 1-10

20   Defendants.

21   TO:     KING COUNTY PUBLIC HOSPITAL DISTRICT #1 D/B/A VALLEY MEDICAL
             CENTER
22
             YOU ARE HEREBY NOTIFIED that a lawsuit has been filed against you in the
23
     above-entitled Court by the above-named Plaintiffs. Plaintiffs’ claims are stated in the written
24
     Complaint, a copy of which is served upon you with this Summons.
25   SUMMONS - 1
                                                                           Galanda Broadman PLLC
                                                                           8606 35th Avenue NE, Ste. L1
                                                                           Mailing: P.O. Box 15146
                                                                           Seattle, WA 98115
                                                                           (206) 557-7509
            Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 65 of 73


 1          In order to defend against this lawsuit, you must respond to the Complaint by stating your

 2   defense in writing, and by serving a copy upon the person signing this summons within 20 days

 3   (if service is made on you within the State of Washington) or within 60 days (if service is made

 4   on you outside the State of Washington) after the date of the service on you of this Summons,

 5   excluding the day of service, or a default judgment may be entered against you without notice.

 6   A default judgment is one where Plaintiff is entitled to what has been asked for because you have

 7   not responded. If you serve a notice of appearance on the undersigned person, you are entitled to

 8   notice before a default judgment may be entered.

 9           If you wish to seek the advice of an attorney in this matter, you should do so promptly so

10   that your written response, if any, may be served on time.

11          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

12   State of Washington.

13          DATED this 7th of May 2018.

14                                                       GALANDA BROADMAN, PLLC

15                                                        s/Gabriel S. Galanda
                                                         Gabriel S. Galanda, WSBA # 30331
16                                                       Ryan D. Dreveskracht, WSBA #42593
                                                         Elisabeth J. Guard, WSBA # 52634
17                                                       Attorneys for Plaintiffs
                                                         P.O. Box 15146 Seattle, WA 98115
18                                                       (206) 557-7509 Fax: (206) 299-7690
                                                         Email: gabe@galandabroadman.com
19                                                       Email: ryan@galandabroadman.com
                                                         Email: elisabeth@galandabroadman.com
20

21

22

23

24

25   SUMMONS - 2
                                                                            Galanda Broadman PLLC
                                                                            8606 35th Avenue NE, Ste. L1
                                                                            Mailing: P.O. Box 15146
                                                                            Seattle, WA 98115
                                                                            (206) 557-7509
             Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 66 of 73

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 1                                                                                  18 MAY 08 AM 9:00


 2                                                                                 KING COUNTY
                                                                               SUPERIOR COURT CLERK
                                                                                      E-FILED
 3                                                                          CASE NUMBER: 18-2-11697-0 KNT

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 5

 6
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                           IN AND FOR THE COUNTY OF KING

 8
     ROBERT BELL, in his Personal Capacity and          NO. ______________
 9   as Administrator of the Estate of MATTHEW
     BELL, deceased; and LESLIE BELL, in her            SUMMONS TO ERIN ABOUDARA
10   Personal Capacity,

11
     Plaintiffs,
12
     v.
13
     KING COUNTY PUBLIC HOSPITAL
14   DISTRICT #1, d/b/a VALLEY MEDICAL
     CENTER; ERIN ABOUDARA; BERNIE
15   DOCHNAHL; LISA BRANDENBURG;
     BARBARA DRENNEN; PETER EVANS; JIM
16   GRIGGS; GARY KOHLWES; MIKE
     MILLER; JULIA PATTERSON; VICKI
17   ORRICO; DONNA RUSSELL; TAMARA
     SLEETER; ELIZABETH SCHAUMBERG;
18   MARK THOMASSEAU; WHITNEY
     ALEXANDER; JEFFREY GOON; and JOHN
19   AND JANE DOES 1-10

20   Defendants.

21   TO:     ERIN ABOUDARA

22           YOU ARE HEREBY NOTIFIED that a lawsuit has been filed against you in the

23   above-entitled Court by the above-named Plaintiffs. Plaintiffs’ claims are stated in the written

24   Complaint, a copy of which is served upon you with this Summons.

25   SUMMONS - 1
                                                                           Galanda Broadman PLLC
                                                                           8606 35th Avenue NE, Ste. L1
                                                                           Mailing: P.O. Box 15146
                                                                           Seattle, WA 98115
                                                                           (206) 557-7509
            Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 67 of 73


 1          In order to defend against this lawsuit, you must respond to the Complaint by stating your

 2   defense in writing, and by serving a copy upon the person signing this summons within 20 days

 3   (if service is made on you within the State of Washington) or within 60 days (if service is made

 4   on you outside the State of Washington) after the date of the service on you of this Summons,

 5   excluding the day of service, or a default judgment may be entered against you without notice.

 6   A default judgment is one where Plaintiff is entitled to what has been asked for because you have

 7   not responded. If you serve a notice of appearance on the undersigned person, you are entitled to

 8   notice before a default judgment may be entered.

 9           If you wish to seek the advice of an attorney in this matter, you should do so promptly so

10   that your written response, if any, may be served on time.

11          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

12   State of Washington.

13          DATED this 7th of May 2018.

14                                                       GALANDA BROADMAN, PLLC

15                                                        s/Gabriel S. Galanda
                                                         Gabriel S. Galanda, WSBA # 30331
16                                                       Ryan D. Dreveskracht, WSBA #42593
                                                         Elisabeth J. Guard, WSBA # 52634
17                                                       Attorneys for Plaintiffs
                                                         P.O. Box 15146 Seattle, WA 98115
18                                                       (206) 557-7509 Fax: (206) 299-7690
                                                         Email: gabe@galandabroadman.com
19                                                       Email: ryan@galandabroadman.com
                                                         Email: elisabeth@galandabroadman.com
20

21

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23

24

25   SUMMONS - 2
                                                                            Galanda Broadman PLLC
                                                                            8606 35th Avenue NE, Ste. L1
                                                                            Mailing: P.O. Box 15146
                                                                            Seattle, WA 98115
                                                                            (206) 557-7509
             Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 68 of 73

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 1                                                                                  18 MAY 14 PM 4:03


 2                                                                                 KING COUNTY
                                                                               SUPERIOR COURT CLERK
                                                                                      E-FILED
 3                                                                          CASE NUMBER: 18-2-11697-0 KNT

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 5

 6
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                           IN AND FOR THE COUNTY OF KING

 8
     ROBERT BELL, in his Personal Capacity and          NO. 18-2-11697-0 KNT
 9   as Administrator of the Estate of MATTHEW
     BELL, deceased; and LESLIE BELL, in her            SUMMONS TO LAWTON
10   Personal Capacity,                                 MONTGOMERY

11
     Plaintiffs,
12
     v.
13
     KING COUNTY PUBLIC HOSPITAL
14   DISTRICT #1 d/b/a VALLEY MEDICAL
     CENTER; ERIN ABOUDARA; BERNIE
15   DOCHNAHL; LISA BRANDENBURG;
     BARBARA DRENNEN; PETER EVANS; JIM
16   GRIGGS; GARY KOHLWES; MIKE
     MILLER; JULIA PATTERSON; VICKI
17   ORRICO; DONNA RUSSELL; TAMARA
     SLEETER; ELIZABETH SCHAUMBERG;
18   MARK THOMASSEAU; WHITNEY
     ALEXANDER; JEFFREY GOON; LAWTON
19   MONTGOMERY and JOHN AND JANE
     DOES 1-10
20
     Defendants.
21
          TO: LAWTON MONTGOMERY
22
             YOU ARE HEREBY NOTIFIED that a lawsuit has been filed against you in the
23
     above-entitled Court by the above-named Plaintiffs. Plaintiffs’ claims are stated in the written
24
     Complaint, a copy of which is served upon you with this Summons.
25   SUMMONS - 1
                                                                           Galanda Broadman PLLC
                                                                           8606 35th Avenue NE, Ste. L1
                                                                           Mailing: P.O. Box 15146
                                                                           Seattle, WA 98115
                                                                           (206) 557-7509
            Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 69 of 73


 1          In order to defend against this lawsuit, you must respond to the Complaint by stating your

 2   defense in writing, and by serving a copy upon the person signing this summons within 20 days

 3   (if service is made on you within the State of Washington) or within 60 days (if service is made

 4   on you outside the State of Washington) after the date of the service on you of this Summons,

 5   excluding the day of service, or a default judgment may be entered against you without notice.

 6   A default judgment is one where Plaintiff is entitled to what has been asked for because you have

 7   not responded. If you serve a notice of appearance on the undersigned person, you are entitled to

 8   notice before a default judgment may be entered.

 9           If you wish to seek the advice of an attorney in this matter, you should do so promptly so

10   that your written response, if any, may be served on time.

11          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

12   State of Washington.

13          DATED this 14th of May 2018.

14                                                       GALANDA BROADMAN, PLLC

15                                                        s/Gabriel S. Galanda
                                                         Gabriel S. Galanda, WSBA # 30331
16                                                       Ryan D. Dreveskracht, WSBA #42593
                                                         Elisabeth J. Guard, WSBA # 52634
17                                                       Attorneys for Plaintiffs
                                                         P.O. Box 15146 Seattle, WA 98115
18                                                       (206) 557-7509 Fax: (206) 299-7690
                                                         Email: gabe@galandabroadman.com
19                                                       Email: ryan@galandabroadman.com
                                                         Email: elisabeth@galandabroadman.com
20

21

22

23

24

25   SUMMONS - 2
                                                                            Galanda Broadman PLLC
                                                                            8606 35th Avenue NE, Ste. L1
                                                                            Mailing: P.O. Box 15146
                                                                            Seattle, WA 98115
                                                                            (206) 557-7509
Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 70 of 73
Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 71 of 73
             Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 72 of 73

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 1                                                                                  18 MAY 08 AM 9:00


 2                                                                                 KING COUNTY
                                                                               SUPERIOR COURT CLERK
                                                                                      E-FILED
 3                                                                          CASE NUMBER: 18-2-11697-0 KNT

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 5

 6
                   IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                           IN AND FOR THE COUNTY OF KING

 8
     ROBERT BELL, in his Personal Capacity and          NO. ______________
 9   as Administrator of the Estate of MATTHEW
     BELL, deceased; and LESLIE BELL, in her            SUMMONS TO BERNIE
10   Personal Capacity,                                 DOCHNAHL

11
     Plaintiffs,
12
     v.
13
     KING COUNTY PUBLIC HOSPITAL
14   DISTRICT #1, d/b/a VALLEY MEDICAL
     CENTER; ERIN ABOUDARA; BERNIE
15   DOCHNAHL; LISA BRANDENBURG;
     BARBARA DRENNEN; PETER EVANS; JIM
16   GRIGGS; GARY KOHLWES; MIKE
     MILLER; JULIA PATTERSON; VICKI
17   ORRICO; DONNA RUSSELL; TAMARA
     SLEETER; ELIZABETH SCHAUMBERG;
18   MARK THOMASSEAU; WHITNEY
     ALEXANDER; JEFFREY GOON; and JOHN
19   AND JANE DOES 1-10

20   Defendants.

21   TO:     BERNIE DOCHNAHL

22           YOU ARE HEREBY NOTIFIED that a lawsuit has been filed against you in the

23   above-entitled Court by the above-named Plaintiffs. Plaintiffs’ claims are stated in the written

24   Complaint, a copy of which is served upon you with this Summons.

25   SUMMONS - 1
                                                                           Galanda Broadman PLLC
                                                                           8606 35th Avenue NE, Ste. L1
                                                                           Mailing: P.O. Box 15146
                                                                           Seattle, WA 98115
                                                                           (206) 557-7509
            Case 2:18-cv-00906-MJP Document 1-2 Filed 06/20/18 Page 73 of 73


 1          In order to defend against this lawsuit, you must respond to the Complaint by stating your

 2   defense in writing, and by serving a copy upon the person signing this summons within 20 days

 3   (if service is made on you within the State of Washington) or within 60 days (if service is made

 4   on you outside the State of Washington) after the date of the service on you of this Summons,

 5   excluding the day of service, or a default judgment may be entered against you without notice.

 6   A default judgment is one where Plaintiff is entitled to what has been asked for because you have

 7   not responded. If you serve a notice of appearance on the undersigned person, you are entitled to

 8   notice before a default judgment may be entered.

 9           If you wish to seek the advice of an attorney in this matter, you should do so promptly so

10   that your written response, if any, may be served on time.

11          THIS SUMMONS is issued pursuant to Rule 4 of the Superior Court Civil Rules of the

12   State of Washington.

13          DATED this 7th of May 2018.

14                                                       GALANDA BROADMAN, PLLC

15                                                        s/Gabriel S. Galanda
                                                         Gabriel S. Galanda, WSBA # 30331
16                                                       Ryan D. Dreveskracht, WSBA #42593
                                                         Elisabeth J. Guard, WSBA # 52634
17                                                       Attorneys for Plaintiffs
                                                         P.O. Box 15146 Seattle, WA 98115
18                                                       (206) 557-7509 Fax: (206) 299-7690
                                                         Email: gabe@galandabroadman.com
19                                                       Email: ryan@galandabroadman.com
                                                         Email: elisabeth@galandabroadman.com
20

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22

23

24

25   SUMMONS - 2
                                                                            Galanda Broadman PLLC
                                                                            8606 35th Avenue NE, Ste. L1
                                                                            Mailing: P.O. Box 15146
                                                                            Seattle, WA 98115
                                                                            (206) 557-7509
